Case 2:02-cr-00226     Document 365   Filed 10/21/11   Page 1 of 4 PageID #: 1339



                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON



UNITED STATES OF AMERICA

v.                                    CRIMINAL ACTION NO. 2:02-00226-01

JOSEPH SAMPSON


         SUPERVISED RELEASE REVOCATION AND JUDGMENT ORDER
                   MEMORANDUM OPINION AND ORDER


           On October 19, 2011, the United States of America

appeared by R. Gregory McVey, Assistant United States Attorney,

and the defendant, Joseph Sampson, appeared in person and by his

counsel, David O. Schles, for a hearing on the petition on

supervised release submitted by United States Probation Officer

Troy A. Lanham, the defendant having commenced a four-year term

of supervised release in this action on December 17, 2009, as

more fully set forth in the Judgment Including Sentence Under

the Sentencing Reform Act entered by the court on May 16, 2003.


           The court heard the admissions of the defendant and

the representations and argument of counsel.
Case 2:02-cr-00226   Document 365   Filed 10/21/11   Page 2 of 4 PageID #: 1340



           For reasons noted on the record of this proceeding,

which are ORDERED incorporated herein by reference, the court

found that the defendant has violated the conditions of

supervised release in the following respects:            (1) that the

defendant used and possessed marijuana and cocaine every day

throughout the months of May and June 2011, as evidenced by his

admission to the probation officer; (2) that the defendant used

and possessed marijuana and cocaine as evidenced by positive

urine specimens submitted by him on March 5 and March 16, 2011,

for marijuana, July 19, August 16, November 1, November 11 and

November 17, 2011, for cocaine, and July 1, July 6 and July 11,

2011, for marijuana and cocaine; (3) that the defendant failed

to follow the instructions of the probation officer in that he

was instructed to remain in contact with the probation office

and to attend all substance abuse treatment and testing

appointments and did not do so inasmuch as the probation officer

had no contact with her from August 4, 2011, until the filing of

the petition on September 14, 2011, and he failed to appear for

drug testing as directed; (4) that the defendant failed to

appear as directed for substance abuse treatment appointments on

July 19, August 11 and September 6, 2011; and (5) that the

defendant failed to appear as directed for drug testing on July

7, August 2, October 14 and November 4, 2010, and January 17,
                                     2
Case 2:02-cr-00226   Document 365   Filed 10/21/11   Page 3 of 4 PageID #: 1341



January 21, January 31, February 7, July 11, July 22, August 11,

August 18, August 22 and August 25, 2011; all as admitted by the

defendant on the record of the hearing and as set forth in the

petition on supervised release.


           And the court finding, as more fully set forth on the

record of the hearing, that the violations warrant revocation of

supervised release and, further, that it would unduly depreciate

the seriousness of the violations if supervised release were not

revoked, it is ORDERED that the supervised release previously

imposed upon the defendant in this action be, and it hereby is,

revoked.


           And the court having complied with the requirements of

Rule 32(a)(1)(B) and (C) of the Federal Rules of Criminal

Procedure, and finding, on the basis of the original offense,

the intervening conduct of the defendant and after considering

the factors set forth in 18 U.S.C. § 3553(a), that the defendant

is in need of correctional treatment which can most effectively

be provided if he is confined, it is accordingly ORDERED that

the defendant be, and he hereby is, committed to the custody of

the United States Bureau of Prisons for imprisonment for a

period of SIX (6) MONTHS, to be followed by a term of forty-two

months of supervised release upon the standard conditions of
                                     3
Case 2:02-cr-00226   Document 365   Filed 10/21/11   Page 4 of 4 PageID #: 1342



supervised release now in effect in this district by order

entered June 22, 2007, and the further condition that the

defendant not commit another federal, state or local crime and

the special condition that he spend a period of SIX (6) MONTHS

at Transitions, Inc. in Ashland, Kentucky, follow the rules and

regulations of the facility and participate in drug abuse

counseling and treatment to the maximum extent available at

Transitions.


           The defendant was remanded to the custody of the

United States Marshal.


           The Clerk is directed to forward copies of this

written opinion and order to the defendant, all counsel of

record, the United States Probation Department, and the United

States Marshal.


                                         DATED:      October 21, 2011


                                         John T. Copenhaver, Jr.
                                         United States District Judge




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